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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DADE DIVISION


                                                               CASE NO. 1:23-cv-20247-PCH


 ARANTZA CASTRO,


        Plaintiff,
 Vs.


 IKEA NORTH AMERICA SERVICES, LLC
 a Foreign For-Profit Corporation

        Defendant.
  ____________________________________/
    PLAINTIFF COUNSEL’S VERIFIED CERTIFICATE OF COUNSEL REGARDING
       PRIOR FILINGS UNDER THE AMERICANS WITH DISABILITIES ACT


 ARANTZA CASTRO, by and through undersigned counsel, hereby files this Verified Certificate

 of Counsel Regarding Prior Filings Under the Americans With Disabilities Act per the Court’s

 January 24, 2024 Order requiring same [D.E. 4]. As officers of the Court and attorneys for

 Plaintiff, the undersigned counsel hereby verifies the following:

 1. This is an action, among other claims, for declaratory and injunctive relief pursuant to Title III

   of the Americans With Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and

   28 C.F.R. Part 36, to prevent disability discrimination and allow equal access to Defendant’s

   internet website by a visually disabled Plaintiff.
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 2. Prior to filing this lawsuit, the undersigned attorneys for the Plaintiff conducted a search of

   case filings in the records of the Clerk of the United States District Court for the Southern

   District of Florida using the search parameters Nature of Suit - 446 (Civil Rights: Americans

   with Disabilities - Other) and have concluded that prior to the filing of this case on, the

   following the following cases have been filed and resolved:

       • 1:23-cv-22729-RAR Alvear v. IKEA North America Services, LLC

       • 0:20-cv-62198-RAR PETERSEN v. IKEA US RETAIL LLC

       • 1:20-cv-20233-KMW Lucius v. Ikea Furniture USA, Incorporated

 3. Under signed has contact counsel for Defendant seeking settlement documents relating to

   these or any other relevant cases, but has not received a response as of yet.

 4. Undersigned will amend this certification if any new information is released to him prior to

   resolution of this case.

 5. The website at issue continues to be non-complaint pursuant to the ADA as alleged.

 6. The property of Defendant that the Plaintiff visited in connection with his ADA claims was

   and is Defendant’s website

 7. Plaintiff made the visits to the Defendant’s website on or about December 2023, and January

   2024 and other days prior, where specific barriers to Plaintiff’s access to the website were

   found, and documented by the Plaintiff’s forensic computer expert



 Dated: February 13, 2024
                                                      Mendez Law Offices, PLLC
                                                      Attorneys for Plaintiff
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